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                              United States District Court
                                     EASTERN DISTRICT OF TEXAS
                                         SHERMAN DIVISION


     UNITED STATES OF AMERICA                  §
                                               §
     VS.                                       §
                                               §       CASE NUMBER 4:22CR075
     ANTHONY JOSEPH HAMMER                     §

                              ORDER GRANTING EXPEDITED PSR

            Before the Court is Defendant’s Unopposed Motion to Expedite Presentence Investigation

     Report (Dkt. #28) wherein Defendant requests that this Court expedite the probation officer’s

     preparation and filing of the Presentence Investigation Report for Defendant Anthony Joseph

     Hammer. Having considered the Motion, the Court is of the opinion that said motion should be

.    GRANTED. It is therefore,

            ORDERED that Defendant’s Motion to Expedite Presentence Investigation Report (Dkt.

     #28) is GRANTED.

            IT IS SO ORDERED.

           SIGNED this 15th day of December, 2022.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
